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 6                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 7

 8 UNITED STATES OF AMERICA,                        3:20-CR-032-LRH-CLB

 9                  Plaintiff,                      Final Order of Forfeiture

10          v.

11 DANNY LEE DORREGO,

12                  Defendant.

13         The United States District Court for the District of Nevada entered an Amended
14 Preliminary Order of Forfeiture and a Second Amended Preliminary Order of Forfeiture

15 pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2) and 18 U.S.C. § 924(d)(1) with 28 U.S.C.

16 § 2461(c) based upon the plea of guilty by Danny Lee Dorrego to the criminal offense,

17 forfeiting the property set forth in the Memorandum in Support of Plea and the Forfeiture

18 Allegation of the Criminal Indictment and shown by the United States to have the requisite

19 nexus to the offense to which Danny Lee Dorrego pled guilty. Criminal Indictment, ECF

20 No. 1; Memorandum in Support of Plea, ECF No. 22; Change of Plea, ECF No. 26;

21 Amended Preliminary Order of Forfeiture, ECF No. 28; Second Amended Preliminary

22 Order of Forfeiture, ECF No. 39.

23         This Court finds that on the government’s motion, the Court may at any time enter
24 an order of forfeiture or amend an existing order of forfeiture to include subsequently

25 located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

26 32.2(b)(2)(C).

27         This Court finds the United States published the notice of forfeiture in accordance
28 with the law via the official government internet forfeiture site, www.forfeiture.gov,
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 1   consecutively from February 24, 2021, through March 25, 2021, and from July 1, 2021,

 2   through July 30, 2021, notifying all potential third parties of their right to petition the Court.

 3   Notice of Filing Proof of Publication Exhibit, ECF Nos. 30-1, p. 5; 53-1, p. 5.

 4            This Court finds the United States notified known third parties by regular mail and

 5   certified mail return receipt requested of their right to petition the Court. Notice of Filing

 6   Notice of Filing Service of Process – Mailing, ECF No. 45.

 7            On June 17, 2021, the United States Attorney’s Office served David Ruggeri by

 8   regular and certified return receipt mail with the Notice and the Amended Preliminary

 9   Order of Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 45-1, p. 3-14.

10            On June 17, 2021, the United States Attorney’s Office served Paul Ruggeri by

11   regular and certified return receipt mail with the Notice and the Amended Preliminary

12   Order of Forfeiture. Notice of Filing Service of Process – Mailing, ECF No. 45-1, p. 3-11,

13   15-16.

14            On October 7, 2021, the United States filed a Motion for a Determination of Third-

15   Party Ownership and Proposed Order. Motion, ECF No. 55

16            On November 22, 2021, the Court granted the Motion and made the following

17   findings. Order, ECF No. 60.

18            The Court found, pursuant to 21 U.S.C. § 853(n)(6)(A), that Paul Allen Ruggeri has

19   established by a preponderance of the evidence that he has a preexisting, innocent

20   ownership interest in (1) a Black Ops Defense, Model L, 5.56mm semi-automatic rifle

21   bearing serial number L1621; and (2) a Black Ops Defense, Model L, 5.56mm semi-

22   automatic rifle bearing serial number L1622.

23            The Court found, pursuant to 21 U.S.C. § 853(n)(6)(A), that David Mario Ruggeri

24   has established by a preponderance of the evidence that he has a preexisting, innocent

25   ownership interest in a Century Arms, Model VZ2008 Sporter, 7.62x39mm, semi-automatic

26   rifle bearing serial number VZ05001.

27            The Court found, pursuant to 21 U.S.C. § 853(n)(6)(A), that Top Performance Trust

28   has established by a preponderance of the evidence that it has a preexisting, innocent
                                                  2
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 1   ownership interest in a McKay Enterprise, Model RMUZ-09, 9mm pistol bearing serial

 2   number RMU00305.

 3          The Court found, for good cause shown and because Paul Allen Ruggeri, David

 4   Mario Ruggeri, and Top Performance Trust do not object, that the United States shall be

 5   entitled to retain possession of the aforementioned firearms for a period necessary to satisfy

 6   its evidentiary and appeals needs for that property in this criminal matter.

 7          This Court finds no other petition was filed herein by or on behalf of any person or

 8   entity and the time for filing such petitions and claims has expired.

 9          This Court finds no petitions are pending regarding the property named herein and

10   the time has expired for presenting such petitions.

11          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

12   all possessory rights, ownership rights, and all rights, titles, and interests in the property

13   hereinafter described are condemned and forfeited pursuant to Fed. R. Crim. P.

14   32.2(b)(4)(A) and (b)(4)(B); Fed. R. Crim. P. 32.2(c)(2); and 18 U.S.C. § 924(d)(1) with 28

15   U.S.C. § 2461(c) and shall be disposed of according to law:

16                  1. a Century Arms, Model VZ2008 Sporter, 7.62x39mm, semi-automatic

17                      rifle bearing serial number VZ05001;

18                  2. a Black Ops Defense, Model L, 5.56mm semi-automatic rifle bearing

19                      serial number L1621;

20                  3. a Black Ops Defense, Model L, 5.56mm semi-automatic rifle bearing

21                      serial number L1622;

22                  4. a McKay Enterprise, Model RMUZ-09, 9mm pistol bearing serial number

23                      RMU00305; and

24                  5. any and all compatible ammunition

25   (all of which constitutes property).

26          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the forfeited

27   property shall be disposed of according to law and the Order to determine third party rights.

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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

 2   copies of this Order to all counsel of record.

 3          DATED 6th, day of December, 2021.

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 6                                               LARRY R. HICKS
                                                 UNITED STATES DISTRICT JUDGE
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 1                                      CERTIFICATE OF SERVICE

 2   On December 6, 2021, a copy of the foregoing was served upon the below

 3   individuals by first class mail:

 4          David Mario Ruggeri
            4911 Stowers Blvd.
 5          San Antonio, TX 78238-5404
 6          Paul Allen Ruggeri
            2513 Midland Way
 7          Carmichael, CA 95608-4636
 8          Top Performance Trust
            c/o David Mario Ruggeri, Trustee
 9          4911 Stowers Blvd.
            San Antonio, TX 78238-5404
10
            Top Performance Trust
11          c/o Paul Allen Ruggeri, Trustee
            2513 Midland Way
12          Carmichael, CA 95608-4636
13

14                                                     /s/ Heidi L. Skillin
                                                      HEIDI L. SKILLIN
15                                                    FSA Contractor Paralegal
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